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                            No. 25-70006

  In the United States Court of Appeals for the Fifth Circuit

GARY WESTCOTT, SECRETARY FOR THE LOUISIANA DEPARTMENT OF PUBLIC
     SAFETY; DARREL VANNOY, WARDEN OF THE LOUISIANA STATE
                   PENITENTIARY; JOHN DOES,
                                  Defendants-Appellants

                                     v.

                           JESSIE HOFFMAN,
                                     Plaintiff-Appellee
                      _________________________

             On Appeal from the United States District Court
                  for the Middle District of Louisiana
                   No. 25-cv-169, Hon. Shelly D. Dick
                    _________________________

EMERGENCY MOTION FOR STAY OR VACATUR OF THE DISTRICT COURT’S
 MARCH 11 PRELIMINARY INJUNCTION AND TO ENLARGE WORD LIMIT
                  _________________________

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           CERTIFICATE OF INTERESTED PERSONS

     A certificate of interested persons is not required here because,

under the fourth sentence of Fifth Circuit Rule 28.2.1, Appellants—as

“governmental” parties—need not furnish a certificate of interested

persons.




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                          NATURE OF EMERGENCY

     Under Federal Rule of Appellate Procedure 27 and this Court’s Rule

27.3, Appellants (collectively, the State) file this emergency motion for

(a) an immediate stay of the district court’s March 11, 2025 Ruling and

Order (App.919–948), (b) thereafter a vacatur of the preliminary

injunction, and (c) an enlargement (by 3,100 words) of the Rule 27 word

limit given the seriousness of the issues presented in this case. Urgency

exists because the Order preliminarily enjoins Plaintiff’s March 18

execution—6 days from now. Accordingly, the State respectfully requests

that this Court stay the Order as soon as practicable, thereafter vacate

the preliminary injunction, and enlarge the Rule 27 word limit.1



     1 Pursuant to this Court’s Rule 27.4, counsel for the State notified
Plaintiff of the State’s intent to file this motion. Plaintiff opposes the
requested relief and intends to file an opposition.

      In addition, the State has styled this motion in terms of both a stay
and vacatur, although the Court’s precedents do not appear to articulate
a meaningful difference between the two. Insofar as the State seeks a
stay, the State asked the district court to (if it were inclined to issue an
injunction) “make clear that it would deny a stay of that injunction, in
order to facilitate appellate review.” App.144. The district court did not
do so and thus has “failed to afford the relief requested.” Fed. R. App. P.
8(a)(2)(A)(ii). And in all events, given the nature of the district court’s
injunction, seeking a stay from that court would be futile. See
Unpublished Order, Voice of the Experienced v. LeBlanc, No. 24-30420
(5th Cir. July 7, 2024), ECF No. 41-1 (citing Fed. R. App. P. 8(a)(2)(A)(i)).
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                           INTRODUCTION

     Seven days before his March 18 execution, the district court granted

Plaintiff’s motion for a preliminary injunction against his execution.

This, even though Plaintiff has claimed to have a live controversy for

eight months but declined to file this lawsuit until two weeks ago. Indeed,

virtually everything in the district court’s analysis could have been

written several months ago. And yet, here the State is—forced, at the

eleventh hour, to seek emergency relief from the appellate courts to

ensure that justice is done.

     The ruling below represents precisely the sort of “last-minute

intervention by a Federal Court” that the Supreme Court has repeatedly

criticized. Barr v. Lee, 591 U.S. 979, 981 (2020) (per curiam). And in fact,

this is a particularly egregious example because it rejects a wall of

Alabama district court, Eleventh Circuit, and Supreme Court precedents

based on virtually the same method of execution (nitrogen hypoxia),

virtually the same experts, and virtually the same arguments and facts.

Indeed, if the district court were right, then the Supreme Court, the

Eleventh Circuit, and the Alabama district courts have green-lighted four

illegal executions. That is preposterous—and it is notable that the


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district court did not deign to engage with those other decisions before

reaching its preferred result. Instead, the district court summarily

determined that the firing squad—which undisputedly is more physically

painful than nitrogen hypoxia (which is physically painless)—is a

feasible alternative that renders nitrogen hypoxia unconstitutional.

     This is not how the Eighth Amendment or death-penalty litigation

works. This Court should immediately stay and vacate the injunction,

and grant the State’s request to enlarge the word limit of this brief to

accommodate the pressing issues.

                 JURISDICTIONAL STATEMENT

     This Court has jurisdiction under 28 U.S.C. § 1292(a)(1).

                           BACKGROUND

     In the interests of time and efficiency, the State here addresses only

the core relevant facts, and it expounds where necessary in the argument

section below.

     A. On the night before Thanksgiving Day in 1996, Plaintiff Jessie

Hoffman kidnapped, robbed, and raped Mary “Molly” Elliot. State v.

Hoffman, 768 So. 2d 542, 550 (La. 2000). Plaintiff kidnapped Molly at

gunpoint and drove her to an ATM, where he forced her to withdraw $200


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and robbed her. Id. Plaintiff subsequently raped Molly in the backseat of

her own car in a remote area of St. Tammany Parish. Id.

     He then marched her—still naked—“down a dirt path which was

overgrown with vegetation and in an area full of trash used as a dump.”

Id. “Her death march ultimately ended at a small, makeshift dock” on

Middle Pearl River, where Plaintiff “forced [her] to kneel” and “shot [her]

in the head, execution style.” Id. Molly “likely survived for a few minutes

after being shot.” Id. But she was not discovered until Thanksgiving Day,

when a duck hunter came across her naked body on the dock. Id. at 549.

For his part, Plaintiff “soon thereafter” took his girlfriend shopping with

Molly’s money. Id. at 550.

     A jury convicted Plaintiff of first degree murder, and he was

sentenced to death. Id. at 549; see App.15 ¶ 61. His direct appeal was

litigated to finality. Hoffman v. Louisiana, 531 U.S. 946 (2000) (denying

petition). And he exhausted all of his state and federal post-conviction

remedies. See State v. Hoffman, 2020-00137 (La. 10/19/21), 326 So. 3d

232, 235–36, 242 (collecting his post-conviction cases).

     B. Although lethal injection was Louisiana’s method of execution

when Plaintiff murdered Molly, drug companies have since made it


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extraordinarily difficult for States to obtain the necessary drugs. As a

result, Louisiana and other States recently have turned to nitrogen

hypoxia because there are no supply concerns with nitrogen. For

Louisiana, that time came in the spring of 2024, when the Legislature

amended La. R.S. 15:569 to adopt nitrogen hypoxia as a method of

execution. Nitrogen hypoxia is Louisiana’s only currently available

method. App.450 ¶ 17; App.724. 2

      Over the past year, Louisiana’s Department of Public Safety &

Corrections constructed a nitrogen hypoxia system that mirrors

Alabama’s—and since 2024, Alabama itself has successfully carried out

four nitrogen hypoxia executions. In general terms, the system delivers

pure nitrogen to a full-face silicon mask with a plexi-glass screen known

as a “source respirator”—industrial grade and superior to medical grade

masks. App.452–53 ¶ 31; App.834. Thick, cushion material presses

against the face and creates a “virtually air tight seal.” Id. The mask has




      2  Some citations of paragraphs within the State’s proposed findings and
conclusions of law trace back to outdated citations of volume 2 of the preliminary-
injunction transcript. As of their Sunday filing deadline, the parties had the final
version of the volume 1 transcript but only the rough transcript for volume 2, which
is cited in the State’s proposed findings and conclusions of law. But the State’s
appendix here includes the final version of that transcript. Accordingly, the State has
endeavored to add citations to the final version of the transcript as well.
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a one-way inlet valve allowing for airflow into the mask from the

industrial tube that delivers both ambient air and nitrogen. Id. The mask

also allows for exhaling through another one-way exhaust valve. Id.

     The State’s expert, Dr. Antognini, is the only expert in this case who

inspected and tested Louisiana’s system. Specifically, he laid down on the

gurney with the mask on at the intended flow rate—and he testified that

he “could breathe very comfortably with the mask on.” App.838. He also

took a video (Defs.’ Ex. 19; App.842) demonstrating how quickly pure

nitrogen displaces oxygen in the mask: By 30 seconds, the air inside the

mask is only 4.4% oxygen; 1.8% by 40 seconds; and so on. App.849.

     C. Almost immediately after the Legislature adopted nitrogen

hypoxia, Plaintiff attempted to reopen a dismissed-as-moot case

challenging Louisiana’s lethal-injection protocol. See Hoffman v. Jindal,

No. 12-cv-796 (M.D. La.). That case was dismissed a few years ago

because Louisiana is currently unable to obtain the necessary drugs.

With nitrogen now permitted under Louisiana law, however, Plaintiff

filed a Rule 60(b)(6) motion claiming that “there has since been a material

and extraordinary change of circumstances that gives rise to a live

controversy between the parties.” Mem. in Support of Mot. for Relief from


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J. at 1, Hoffman v. Jindal, No. 12-cv-796 (M.D. La. June 14, 2024), ECF

318-1. For the next eight months, however, the district court took no

action on that motion—and Plaintiff refused to file this lawsuit.

     Indeed, it was not until Plaintiff’s death warrant issued in early

February that the Hoffman I docket bounced back. The district court

issued an order reopening the case. ECF 337. But the State appealed and

secured an administrative stay on the basis that this was an improper

exercise of Rule 60(b)(6) authority. See In re Westcott, No. 25-30088 (5th

Cir.). That case remains pending in this Court.

     D. Once Plaintiff realized that he would be unable to use his old

case as a subterfuge for challenging Louisiana’s new method of execution,

he filed this lawsuit (on February 25) and immediately (on February 26)

sought to enjoin his execution. App.1–61 (Complaint); App.62–102

(preliminary-injunction motion). In the ensuing two weeks, the parties

engaged in expedited discovery, motion practice, and an evidentiary

hearing on Friday, March 7, followed by proposed findings and

conclusions filed at 9am on Sunday, March 9.

     This case has substantially narrowed in the meantime because the

district court partially granted the State’s motion to dismiss certain


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claims from the bench on Friday (App.522–24), and yesterday (App.942–

44) the court held that Plaintiff was unlikely to succeed on certain other

claims. As things stand, therefore, the only claim before this Court is

Plaintiff’s Eighth Amendment challenge to nitrogen hypoxia.

     Here are a few key facts that inform that challenge. To begin, as

the district court recognized, both Plaintiff’s and the State’s experts

“agree that nitrogen hypoxia does not produce physical pain.” App.934.

Plaintiff’s case thus depends on alleged psychological pain. To that end,

he testified that he is Buddhist and engages in meditative breathing

twice a day, which requires concentrated “deep breaths”—both inhaling

and exhaling. App.455 ¶ 42. He also testified that he plans to use his

breathing techniques during his execution. App.455 ¶ 44. He put on a

PTSD expert, Dr. Sautter, who agreed that Plaintiff has mastered his

breathing techniques to control any PTSD issues—and so long as “he can

practice the breathing, then he will be able to decrease his distress.”

App.491 ¶ 166. Plaintiff also put on another expert, Dr. Bickler, who

testified that—with normal breathing, and especially with deep breaths

as Plaintiff intends—unconsciousness will occur in less than a minute

after pure nitrogen begins to flow into the mask. App.481 ¶ 138; App.783.


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Dr. Bickler also testified that, at least in the assisted-suicide context,

“allowing the free flow of a gas into the lungs but with no oxygen causes

a gentle hypoxic death.” App.803.

     The State’s expert, Dr. Antognini (whom the Alabama courts have

credited), agreed on the key facts: “His opinion is that Louisiana’s system

will cause unconsciousness within 35 to 40 seconds (or perhaps sooner)

once Plaintiff begins to inhale pure nitrogen—and he expects death to

follow ‘rapidly,’ within 10 to 15 minutes.” App.480 ¶ 137; see App.832.

     For his part, Plaintiff proposed the firing squad and a drug cocktail

known as DDMAPh as more humane alternative methods of execution

that render nitrogen hypoxia unconstitutional. In granting Plaintiff’s

motion for preliminary injunction yesterday, the district court rejected

DDMAPh (because the State cannot use drugs for execution purposes,

App.941), but agreed that the firing squad is a suitable alternative.

App.938–40. The court has thus enjoined Defendants from executing

Plaintiff on March 18 via nitrogen hypoxia.

                       STANDARD OF REVIEW

      A preliminary injunction is an “extraordinary remedy,” and the

“burden of persuasion on all ... requirements” is on the moving party. Big


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Tyme Invs., L.L.C. v. Edwards, 985 F.3d 456, 464 (5th Cir. 2021)

(quotation omitted). Indeed, a preliminary injunction “should not be

granted unless the party seeking it has clearly carried the burden of

persuasion on all four requirements.” Dennis Melancon, Inc. v. City of

New Orleans, 703 F.3d 262, 268 (5th Cir. 2012) (cleaned up).

     “A preliminary injunction is warranted only ‘if the movant

establishes: (1) a substantial likelihood of success on the merits, (2) a

substantial threat of irreparable injury if the injunction is not issued,

(3) that the threatened injury if the injunction is denied outweighs any

harm that will result if the injunction is granted, and (4) that the grant

of an injunction will not disserve the public interest.” Big Tyme Invs.,

L.L.C., 985 F.3d at 463–64 (quotation omitted).

     This Court assesses the same factors in vacating stays and

injunctions against executions. See Sells v. Livingston, 750 F.3d 478,

480–81 (5th Cir. 2014) (stay vacatur and injunction reversal); Sells v.

Livingston, 561 F. App’x 342, 343–45 (5th Cir. 2014) (stay vacatur and

injunction reversal); Turner v. Epps, 460 F. App’x 322, 323, 327 (5th Cir.

2012) (stay vacatur).




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                              ARGUMENT

     The district court enjoined Plaintiff’s execution on one claim—that

execution by nitrogen hypoxia violates the Eighth Amendment. But

Plaintiff is not likely to succeed on that claim because he failed to exhaust

it and because it fails on the merits. Moreover, his extraordinary delay in

bringing this claim in the first place reinforces that the equities require

a stay and vacatur of the injunction.

I.   PLAINTIFF IS NOT LIKELY TO SUCCEED ON HIS EIGHTH
     AMENDMENT CLAIM BECAUSE HE FAILED TO EXHAUST IT.

     A. The Prison Litigation Reform Act provides that “[n]o action shall

be brought with respect to prison conditions ... by a prisoner confined in

any jail, prison, or other correctional facility until such administrative

remedies as are available are exhausted.” 42 U.S.C. § 1997e(a). The

prisoner “must have ‘pursue[d] the grievance remedy to conclusion’—

substantial compliance with administrative procedures is not enough.”

Bargher v. White, 928 F.3d 439, 447 (5th Cir. 2019). Relevant here, the

essential first step of “Louisiana’s Administrative Remedy Procedure” is

to “submit[] a request to the warden briefly setting out the basis for the

claim and the relief sought.” Id.



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     This obligation applies full bore in method-of-execution lawsuits,

including where a plaintiff challenges potential procedures for

administering a longstanding method of execution. See, e.g., White v.

Johnson, 429 F.3d 572, 574 n.1 (5th Cir. 2005) (in challenge to lethal

injection, rejecting as unexhausted claim that “the State might use a cut-

down procedure to gain venous access”).

     B. Plaintiff failed to comply with respect to his Eighth Amendment

claim. On that claim, Plaintiff bears the burden of asserting, and then

showing, that there is “a feasible and readily implemented alternative

method of execution that would significantly reduce a substantial risk of

severe pain and that the State has refused to adopt without a legitimate

penological reason.” Bucklew v. Precythe, 587 U.S. 119, 134 (2019).

     Plaintiff’s pending grievances, however, never so much as mention

an alternative method of execution, let alone suggest that it would

significantly reduce a substantial risk of severe pain from nitrogen

hypoxia. At most, Plaintiff vaguely asserts that Louisiana’s three

methods    of   execution—lethal      injection,   nitrogen    hypoxia,     and

electrocution—are all unconstitutional and will be unconstitutionally

administered. App.152–59.


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     It was not until Plaintiff filed his Complaint that he identified, for

the first time, his Eighth Amendment claim: that the firing squad and

DDMAPh are feasible and readily implemented alternatives that render

nitrogen hypoxia unconstitutional. And that is fatal under White. There,

although the plaintiff unquestionably exhausted a challenge to lethal

injection, his subsequent challenge to a cut-down procedure for

administering lethal injection was “barred from federal review by [his]

failure to exhaust it pursuant to the PLRA.” 429 F.3d at 574 n.1; see

Mejia-Alvarenga v. Garland, 95 F.4th 319, 326 n.2 (5th Cir. 2024)

(“Alternative holdings are not dicta and are binding in this circuit.”).

Since this Court has demanded precise exhaustion of claims regarding

one method of execution, a fortiori the same precedents compel precise

exhaustion of claims that depend on introducing additional and different

methods of execution into the analytical framework. White ends

Plaintiff’s Eighth Amendment claim.

     C. Despite the State’s repeated arguments on this point (App.466–

69), the district court never acknowledged White. Instead, the district

court excused Plaintiff’s failure to exhaust on two grounds.




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     First, the district court claimed that “there is no administrative

process available for [him]” because Plaintiff’s pending grievances may

not be resolved until after his execution date. App.927 (bolding omitted).

But that assumes that those pending grievances actually assert the

Eighth Amendment claim he now presses. As just explained, they do

not—and the district court cited no case suggesting that a prisoner can

claim unavailability without first attempting to raise his claim in the

grievance process.

     Second, and perhaps recognizing as much, the district court claimed

that Plaintiff “need not necessarily advance specific legal theories”—“fair

notice” is sufficient, and “[t]he State was on notice that [Plaintiff]

challenged his method of execution.” Id. (quoting Williams v. Estelle Unit

Prison Offs., 2024 WL 3026778, at *3 (5th Cir. June 17, 2024)). But that

excuse did not work in White. That is because the required level of detail

depends on each “given case” and how much information is necessary to

“giv[e] officials ‘time and opportunity to address complaints internally.’”

Williams, 2024 WL 3026778, at *3 (quoting Johnson v. Johnson, 385 F.3d

503, 516 (5th Cir. 2004)). Just as a global lethal-injection challenge in

White did not put officials on notice of a challenge to a cut-down


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procedure, so too a global claim that nitrogen, lethal injection, and

electrocution are unconstitutional did not magically tell the State that

two other methods of execution (which are not permitted under Louisiana

law) render nitrogen unconstitutional. This is sand-bagging plain and

simple—and this is not how PLRA exhaustion works. The Court need say

no more in staying and vacating the preliminary injunction.

II.   EVEN IF IT WERE EXHAUSTED, PLAINTIFF’S EIGHTH AMENDMENT
      CLAIM IS NOT LIKELY TO SUCCEED ON THE MERITS.

      If the Court reaches the merits, a stay and vacatur remain in order

because Plaintiff has no viable Eighth Amendment claim. Every level of

the federal courts—from Alabama district courts, to the Eleventh Circuit,

to the Supreme Court—repeatedly has rejected Eighth Amendment

challenges based on virtually the same method of execution and virtually

the same expert testimony. See Frazier v. Hamm, 2025 WL 361172 (M.D.

Ala. Jan. 31, 2025) (no appeal); Grayson v. Hamm, 2024 WL 4701875

(M.D. Ala. Nov. 6, 2024), aff’d, Grayson v. Comm’r, Ala. Dep’t of Corr.,

121 F.4th 894 (11th Cir. 2024), stay of execution denied, Grayson v.

Hamm, 145 S. Ct. 586 (2024) (no noted dissents); Smith v. Hamm, 2024

WL 1160303 (M.D. Ala. Jan. 10, 2024), aff’d, Smith v. Comm’r, Ala. Dep’t

of Corr., 2024 WL 266027 (M.D. Ala. Jan. 24, 2024), stay of execution

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denied, Smith v. Hamm, 144 S. Ct. 414 (2024) (Sotomayor, Kagan,

Jackson, JJ., dissenting). The State told the district court as much

(App.117–18, 478)—yet rather than acknowledge this wall of precedent,

the district court ignored it, relitigated the facts in those cases, and came

to the opposite conclusion. This Court’s intervention is thus necessary.

                               *       *       *

     “The Constitution allows capital punishment.” Bucklew, 587 U.S. at

129. Indeed, “the Eighth Amendment does not guarantee a prisoner a

painless death.” Id. at 132. Instead, it bars only those “forms of

punishment that intensif[y] the sentence of death with a (cruel)

superaddition of terror, pain, or disgrace.” Id. at 133 (cleaned up). And

“perhaps” for that reason, the Supreme Court “has yet to hold that a

State’s method of execution qualifies as cruel and unusual.” Id.

     To that end, “where (as here) the question in dispute is whether the

State’s chosen method of execution cruelly superadds pain to the death

sentence, a prisoner must show a feasible and readily implemented

alternative method of execution that would significantly reduce a

substantial risk of severe pain and that the State has refused to adopt

without a legitimate penological reason.” Id. at 134; see id. at 136–37


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(“[W]hen   it   comes   to   determining     whether     a   punishment     is

unconstitutionally cruel because of the pain involved, the law has always

asked whether the punishment ‘superadds’ pain well beyond what’s

needed to effectuate a death sentence.”). Requiring a plaintiff to show

that the challenged method “is sure or very likely to result in needless

suffering,” Glossip v. Gross, 576 U.S. 863, 881 (2015), is an “extremely

demanding standard,” Smith, 144 S. Ct. at 416 (Kagan, J., dissenting

from the denial of application for stay and denial of certiorari).

     Here, contrary to the district court’s conclusion, Plaintiff failed at

Bucklew Step Zero (see infra Section II.A)—his burden to show that

Louisiana’s nitrogen hypoxia protocol poses a substantial risk of severe

pain. But, even if he had satisfied Bucklew Step Zero, Plaintiff (again,

contrary to the district court’s conclusion) independently failed to show

that (1) the firing squad is a feasible and readily implemented alternative

that would significantly reduce an alleged substantial risk of severe pain

and (2) the State refused to adopt it without a legitimate penological

reason. See infra Section II.B. And to be clear, none of these errors

depends on credibility determinations—just basic facts and logic.




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     A.    Nitrogen Does Not Present a Substantial Risk of Severe
           Pain.

     Start with the supposed risk of severe pain presented by nitrogen

hypoxia. The district court’s findings are demonstrably misguided and

warrant this Court’s emergency intervention.

           1. The district court erred in relying on long-rejected
              media reports from Alabama.

     The centerpiece of the district court’s decision is a list of media

reports regarding the four Alabama executions. In the court’s words:

“Eyewitness accounts from these executions are the most probative

evidence of what death by forced inhalation of nitrogen looks like.”

App.931. This is astounding—both because Alabama courts have rejected

such accounts as unreliable and because this district court refused to

even acknowledge that across-the-board rejection.

     Here, like the plaintiffs in the Alabama cases, the district court

wields these media accounts as evidence of “suffering, including

conscious terror for several minutes, shaking, gasping, and other

evidence of distress.” Id. The district court even adds its own rhetorical

flourishes, such as “conscious struggling for life” and “vigorous

convulsing and shaking.” Id.


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     Just over a month ago, however, the Frazier court explained why

this is a logical mistake. Those accounts are “insufficiently reliable

because [the eyewitnesses] d[id] not know”—and could not know—“when

the nitrogen began to flow.” Frazier, 2025 WL 361172, at *11 (footnote

omitted). Because they did not know time zero, the witnesses could not

“‘reliably pinpoint’” how soon after the introduction of nitrogen “‘an

inmate los[t] consciousness.’” Id. On top of that, the courts have

recognized   that   “unconscious   individuals    experience     involuntary

movements,” such as “‘muscle tremors and convulsion-like activity.’” Id.

at *12. It is thus “not supris[ing]” that the condemned inmates exhibited

“breaths and even convulsions[] after the introduction of an inert gas—

when a person is unconscious and unable to feel pain.” Id. For that

reason, “the evidence of Smith’s, Miller’s, and Grayson’s movements

during their respective executions does not support a finding that any of

them experienced severe psychological pain or distress over and above

what is inherent in any execution.” Id.; see id. at *11 (rejecting argument

that these reports “are evidence that inmates remained conscious after

the nitrogen began flowing and were distressed and in pain”).




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     To the extent this district court also invoked the Smith execution,

the court ignored that his execution was principally complicated by his

own “non-cooperation with the execution process,” specifically his

“breath-holding,” which “would have increased the level of carbon dioxide

in his body, acidifying his blood and increasing discomfort and distress.”

App.488 ¶ 158. As the Alabama courts recognized, the evidence from the

Smith execution showed that Smith refused to inhale the nitrogen, which

caused the reaction Plaintiff now highlights. Frazier, 2025 WL 361172,

at *5 & nn.9–10, *11 n.20; Grayson, 2024 WL 4701875, at *21 (“Smith

held his breath and struggled against the restraints while Miller did

not.”). On top of that, Smith’s autopsy showed that he had “a synthetic

cannabinoid” in his blood that “can cause hallucinations, vomiting,

paranoia, and convulsions (seizures)”—which, in turn, may have made

Smith’s “convulsions more likely and pronounced.” App.488 ¶ 158;

Grayson, 2024 WL 4701875, at *17 n.18. None of this has anything to do

with nitrogen’s constitutionality or efficacy as a method of execution—it

has everything to do with Smith’s own actions.

     By pretending that these Alabama court decisions do not exist and

do not reject exactly what the district court did here, the court has


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effectively thumbed its nose at those courts, basic common sense, and

logic. Indeed, the court’s refusal to engage with those decisions effectively

admits that there is no way to overcome their reasoning. And this has

nothing to do with credibility determinations. These are cold, hard facts

that render the media accounts unreliable in service of the district court’s

proclamation that nitrogen hypoxia is unconstitutional. A stay and

vacatur are thus independently warranted on this basis.

           2. The district court erred by suggesting that Plaintiff
              will hold his breath.

     The district court’s next error is even more egregious: It blanketed

its decision with an assumption that Plaintiff will hold his breath, refuse

to breathe nitrogen, and thus increase an alleged sense of terror. The

court did so by invoking Plaintiff’s expert, Dr. Bickler. See App.934 (“[I]f

the condemned holds his breath, Dr. Bickler opines that it could take 3

to 5 minutes to lose consciousness.”); accord App.935, 936. And Dr.

Bickler himself acknowledged that he was inflating his opinion with the

“expect[ation] that [Plaintiff] would hold his breath and then probably

attempt to breathe shallowly and then only slowly get hypoxic, all the

while experiencing the effects of the progressing hypoxia and buildup of

carbon dioxide in his blood.” App.758. This is misdirection.

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     First, as the district court acknowledged, “Plaintiff admits that he

will have the ability to breathe in the nitrogen as it is administered.”

App.925. In fact, Plaintiff also testified that he “plan[s] to use [his]

meditative breathing techniques,” which involve “deep breaths,” if he is

executed through nitrogen hypoxia. App.490 ¶ 164; accord App.925

(district court’s conclusion that “there is no substantial burden to his

exercise of rhythmic breathing”). There is thus no record basis for the

district court’s and Dr. Bickler’s speculation that Plaintiff might self-

inflict harm by refusing to breathe.

     Second, this point matters because it directly impacts the amount

of time between the initiation of pure nitrogen and Plaintiff’s loss of

consciousness. As the district court acknowledged, Dr. Bickler “candidly

conceded that a person who is administered 100% pure nitrogen and is

breathing normally will lose consciousness in less than one minute.”

App.934. But the court omitted that Dr. Bickler also conceded that it is

possible that “[a] person who is taking deep breaths”—as Plaintiff

testified he intends to do—“will lose consciousness even quicker than

that.” App.481 ¶ 138; App.783. Because that window will be exceedingly




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narrow, the district court’s trumpeting of “conscious psychological

suffering” for several minutes is completely baseless. App.936.

     Third, even if this record suggested that Plaintiff intends to hold

his breath, that would bar him from obtaining a preliminary injunction.

As this Court has recognized, it is black-letter law that “a party may not

satisfy the irreparable harm requirement if the harm complained of is

self-inflicted.” State v. Biden, 10 F.4th 538, 558 (5th Cir. 2021) (alteration

and citation omitted) (collecting authorities).

           3. Plaintiff’s Dr. Sautter and Dr. Bickler destroyed his
              case for “severe pain.”

     The foregoing points are important because they substantially

constrain the analysis: (1) the Alabama media reports are not a valid

basis for inferring evidence of conscious pain and suffering; and

(2) Plaintiff’s expert, Dr. Bickler, agrees that Plaintiff will be unconscious

within a matter of seconds after pure nitrogen begins to flow. So, how can

Plaintiff claim that he faces a substantial risk of severe pain within the

relevant sliver of time? He can’t—as evidenced by the testimony of his

own experts that the district court ignored.

     Take first his PTSD expert, Dr. Sautter, who ran a truck through

Plaintiff’s theory of the case. Dr. Sautter testified that “[i]t’s really

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amazing” how Plaintiff has used his Buddhist breathing techniques to

“manag[e] his PTSD.” App.491 ¶ 165. Not only that, but he also testified

that Plaintiff will “be able to practice [the] breathing techniques while

under psychological distress.” App.491 ¶ 166. In his words, “if he can

practice the breathing”—as the district court and Plaintiff confirmed he

can and will, App.925—Plaintiff “will be able to decrease his distress.”

App.491 ¶ 166. That is damning testimony for any suggestion that

Plaintiff faces a substantial risk of severe pain in the few seconds

between the introduction of pure nitrogen and unconsciousness.

     Take next Dr. Bickler, who made two of the most profound

concessions during Plaintiff’s opening case. First, he admitted—in line

with Dr. Antognini’s testimony—that, at least in “some instances,” a

person breathing pure nitrogen “is fooled because there is no clear

indication that anything is amiss. Blackout occurs quickly without

warning.” App.781. Second, he admitted that, at least in the assisted-

suicide context, “allowing the free flow of a gas into the lungs but with no

oxygen causes a gentle hypoxic death.” App.803.

     How, then, could he plausibly assert that Louisiana’s nitrogen

system will somehow impose stark terror, pain, and suffering on


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Plaintiff? Dr. Bickler’s only answer was that death (when directed by a

State) is different. App.804 (“[A]s I’ve said about a hundred times, that’s

a very different context than forced asphyxiation with nitrogen in a death

chamber.”). But Dr. Sautter was not concerned because, so long as

Plaintiff “can practice the breathing, then he will be able to decrease his

distress.” App.491 ¶ 166. Moreover, “every method of execution involves

a period during which the inmate experiences psychological pain because

he realizes death is imminent.” Frazier, 2025 WL 361172, at *13. That

does not automatically render his execution unconstitutional.

      In short, Plaintiff’s own witnesses gutted his argument that

nitrogen hypoxia presents a substantial risk of severe pain.

            4. The   district   court’s  purported    credibility
               determinations between Dr. Bickler and Dr.
               Antognini are both immaterial and wrong.

      Because Plaintiff has no viable Eighth Amendment claim, the

district court’s attempts to insulate its decision in “credibility” findings

are irrelevant. The district court, of course, cannot “insulate [its] findings

from review by denominating them credibility determinations.” Anderson

v. City of Bessemer City, 470 U.S. 564, 575 (1985). Instead, the court

“must” “consider relevant documents or objective evidence that may


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contradict the witness’s story and whether a witness’s story is internally

consistent and plausible on its face.” Matter of Complaint of Luhr Bros.,

Inc., 157 F.3d 333, 338 (5th Cir. 1998). And when a district court fails to

do so, this Court can “find clear error even in a finding purportedly based

on a credibility determination.” Anderson, 470 U.S. at 575 (citing United

States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). In fact, “it is [this

Court’s] duty as the reviewing court to correct this mistake.” Matter of

Complaint of Luhr Bros., Inc., 157 F.3d at 339. Here, the district court’s

“credibility” determinations are more red herrings than important errors

requiring correction by this Court.

     Dr. Antognini. Start with the State’s expert, Dr. Antognini, whom

the Alabama courts have universally credited. See Frazier, 2025 WL

361172, at *11 (“[T]he Court assigns greater weight to Dr. Antognini’s

expert opinion that an inmate loses consciousness closer to thirty to forty

seconds after nitrogen gas is introduced.”); id. at *13 (“According to Dr.

Antognini, whose opinion the Court credits, the period between the

nitrogen’s activation and loss of consciousness is likely less than a

minute.”); Grayson, 121 F.4th at 900 (affirming district court’s finding

that “Dr. Antognini’s opinions [including that the nitrogen flow ‘will lead


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to unconsciousness within 10 to 40 seconds’] ... were ‘more credible and

persuasive than those of Dr. McAlary’”). (Speaking of Dr. McAlary,

Plaintiff built his preliminary-injunction motion on Dr. McAlary—but

after the State’s opposition brief detailed Dr. McAlary’s 100% loss rate to

Dr. Antognini in the Alabama courts, App.117–30, Dr. McAlary

disappeared from Plaintiff’s briefing, he did not testify in Baton Rouge,

and the district court’s decision likewise ignores him.)

     The district court made a big to-do about “not credit[ing] Dr.

Antognini’s opinion that the Louisiana’s [sic] system ‘will cause

unconsciousness within 35 to 40 seconds or perhaps sooner once the

inmate starts to inhale in 90 to 100% nitrogen gas.’” App.936. On the

same page, however, the court did actually adopt his view as “the low

end” of the period from nitrogen flow to unconsciousness. See id. & n.109

(citing Dr. Antognini). Moreover, as explained above, the district court

could not actually reject Dr. Antognini’s view because—as Dr. Bickler

agreed—with normal breathing and deep breaths Plaintiff will be

unconscious in far less than a minute after pure nitrogen begins to flow.

     The district court also criticized Dr. Antognini for not “testing” his

hypotheses “by observation of the Alabama executions.” App.937. Never


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mind that Dr. Bickler never witnessed one of those executions, either.

And never mind that it is extremely difficult to secure a witness seat at

any execution.

      Dr. Bickler. Turning to Plaintiff’s expert, Dr. Bickler, this is—

respectfully—one of the most astounding examples of an unsupported

expert opinion. He filed a declaration in this case with a grand total of

one cited article. That article? His own “opinion” piece advocating against

execution by nitrogen hypoxia and expressly based on all the media

reports that the Alabama courts have rejected as unreliable. App.913.

Said Dr. Bickler when asked about it: “I think that should be sufficient.”

Id.

      That cavalier attitude revealed that, in fact, Dr. Bickler has zero

research or studies suggesting that Plaintiff will suffer some sort of terror

in the brief period between the initiation of nitrogen flow and

unconsciousness. Indeed, he freely testified that “it’s not just Smith’s

execution that has reinforced my opinion about the inadvisability of

nitrogen, but it’s all four of the executions using nitrogen that were done

by the State of Alabama. In all four cases, the deaths by nitrogen

asphyxiation were prolonged, apparently agonizing, evidently painful


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and traumatic.” App.740; accord App.741, 745, 746, 747, 750, 751, 752,

753, 755. As each of these citations reflect, Dr. Bickler expressly drew his

opinion from the Alabama media reports and Dr. McAlary’s own

statements—all of which the courts have rejected time and again.

     The district court tried to puff him up based on his “human hypoxia”

research. App.932–33. But the court omitted what that actually involves:

“slowly dropping subjects’ ‘oxygen saturation level to about 70 percent

and sometimes lower, down to 50 percent,’” and then holding them in that

reduced-oxygen state for several minutes. App.488 ¶ 159; App.867–68;

App.769–70. That, of course, is nothing like the facts here, which will

involve rapid administration of pure nitrogen—and Dr. Bickler admitted

that he had never studied “a scenario of administering nitrogen at 95

percent or higher,” as Louisiana will do here. App.488 ¶ 159; App.769–

70. As Dr. Antognini put it, “probably at the 30- or 40-second level in the

nitrogen hypoxia system, you’ve already gone past the lower level of what

Dr. Bickler ... would normally study. So there isn’t really a lot of time for

somebody to develop symptoms before they become unconscious.”

App.868. The puffery thus gets Dr. Bickler nowhere.




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     One final note about Dr. Bickler’s closing words at the preliminary-

injunction hearing: Plaintiff rushed him back to the stand as a rebuttal

witness to say that “the low oxygen experienced in the Louisiana protocol

will make one very, very short of breath”—“extremely uncomfortable.”

App.911. Even if true, that is a far cry from “a substantial risk of severe

pain,” which was Plaintiff’s burden to establish at this preliminary-

injunction stage. Bucklew, 587 U.S. at 134. And that only confirms that

Plaintiff comes nowhere close to satisfying Bucklew Step Zero. The Court

should thus stay or vacate the injunction on that ground.

     B.    The Firing Squad Is Not a Sufficient Alternative.

     All of the foregoing is ultimately beside the point, however, because

Plaintiff failed to actually prove up the remainder of the Bucklew inquiry.

That inquiry required him to identify (1) a feasible and readily

implemented alternative method of execution that would significantly

reduce any alleged substantial risk of severe pain and (2) that the State

has refused to adopt without a legitimate penological reason. Bucklew,

587 U.S. at 134. The district court thought he carried his burden by

identifying the firing squad, but that is wrong on multiple levels.




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           1. The firing squad is more physically painful than
              nitrogen hypoxia.

     Start with the undisputed fact that the firing squad would cause

Plaintiff more physical pain than would nitrogen hypoxia. As the district

court admitted, both Plaintiff’s and the State’s experts “agree that

nitrogen hypoxia does not produce physical pain.” App.934. By contrast,

it is also undisputed that Plaintiff would be alive for at least three to four

seconds after being shot by a firing squad (App.939)—and both Plaintiff’s

and the State’s experts testified that the shattering of bones and tearing

of issue would be extraordinarily painful. App.462–63 ¶¶ 78–81;

App.875–77. (And that assumes a clean shot, rendering unnecessary a

second volley or a mercy shot to the head. Id.; App.494 ¶ 175.) Even

Plaintiff himself testified that he did not believe the firing squad was

painless. App.494 ¶ 175. The State’s expert also expressly compared

nitrogen with the firing squad, concluding that the firing squad would be

“more” painful—while Plaintiff’s expert, Dr. Williams, refused to make a

comparison. App.494 ¶ 176; App.877.

     Given this undisputed evidence that the firing squad is actually

more painful than nitrogen, it is remarkable that the district court

refused to acknowledge this glaring problem. See App.493–94 (State’s

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proposed conclusions of law making this point). And that is a clear signal

that something is amiss. The State is aware of no case where a court has

found an Eighth Amendment violation by invoking a proposed

alternative that is actually more physically painful than the challenged

method. That is more than enough to stay and vacate the injunction

below on the ground that Plaintiff failed to identify an alternative that

would significantly reduce any alleged substantial risk of severe pain

from nitrogen.

           2. The district court’s reliance on psychological harm
              is misplaced.

     Recognizing that problem, the district court tried to reframe this

analysis in terms of “psychological terror.” App.939. The district court

emphasized its view that Plaintiff would be conscious for only “3 to 4

seconds” after being shot, as compared to the supposed “duration of

conscious suffering of 30 to 40 seconds” from nitrogen hypoxia. Id. This

misdirection does not work for at least two reasons.

     First, the district court never explained how a plaintiff could satisfy

the Bucklew standard by proposing an alternative that is more physically

painful, even if it is simultaneously less psychologically painful. It is

unclear how those different metrics could be adequately compared

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against each other in the Bucklew analysis (the district court cited no

authority). And in all events, it cannot be the law that a State is penalized

for not adopting a more physically painful method of execution. That

would make a mockery of Bucklew and related cases.

     Second, the district court badly misrepresented the relevant record

evidence on psychological issues. The district court’s cursory discussion

implies that Plaintiff might face “psychological terror” for at most three

to four seconds after he is shot, App.939, but that is misleading. For one

thing, Plaintiff elicited no testimony about how severe “psychological

terror” post-firing squad might be, even if for a few seconds—and one can

imagine the horror of being alive with a gaping chest wound. Cf. App.495

¶ 178; App.634 (Plaintiff’s firing-squad expert, Dr. Williams, conceding

“I offered no psychological evidence”). The district court thus had no

evidentiary basis to suggest, comparatively, that the firing squad would

“significantly reduce a substantial risk of severe pain” from nitrogen.

     For another thing, the district court left out that Plaintiff’s PTSD

expert, Dr. Sautter, testified that Plaintiff’s traumatic history of being

held at gunpoint is “one of the stimuli” that could trigger Plaintiff’s

PTSD—and he acknowledged that this would be a problem if Plaintiff


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were “placed in front of a firing squad.” App.495–96 ¶ 179. The district

court’s intimation of a three-to-four-second period in question is thus

wildly wrong: Plaintiff would be subject to psychological distress for the

entire lead-up to his execution, including during the several minutes

while he is positioned in front a firing squad, potentially hooded, and then

forced to await gunshots that end his life. There is no world in which that

testimony by Plaintiff’s own expert somehow means that the firing squad

is a dramatically less painful alternative to nitrogen.

           3. Louisiana has legitimate penological reasons to
              prefer nitrogen over the firing squad.

     Finally, even if the firing squad were an otherwise suitable

alternative, there are legitimate penological reasons why Louisiana

might choose nitrogen over the firing squad. As just explained, the

undisputed evidence is that the firing squad is more physically painful

than nitrogen. In its effort to efficiently and humanely carry out death

sentences, therefore, Louisiana reasonably selected the least physically

painful method vis-à-vis firing squad. Cf. Bucklew, 587 U.S. at 134 (even

“traditionally accepted methods of execution—such as hanging, the firing

squad, electrocution, and lethal injection—are [not] necessarily rendered



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unconstitutional as soon as an arguably more humane method like lethal

injection becomes available”).

     Consider also the logistical and emotional costs of the firing

squad—requiring multiple individuals (who will know whether they fired

a live or blank round, App.496 ¶ 181; App.632) to pull the trigger;

preparing to clean an execution chamber covered in blood, bones, and

tissue; and handling the shattered body of the condemned post-execution.

None of these serious issues are presented by nitrogen hypoxia, which is

quick and clinical. Cf. Bucklew, 587 U.S. at 134 (“a State has a legitimate

interest in selecting a method it regards as ‘preserving the dignity of the

procedure’”).

     And finally, it is worth noting that—after being unable to obtain

lethal-injection drugs for years—Louisiana adopted nitrogen on the heels

of Alabama’s first successful execution by nitrogen hypoxia. Louisiana’s

gravitation toward a viable method of execution (for which “‘[n]o supply

concerns exist’”) is itself a “valid penological reason to decline to adopt

[Plaintiff’s] proposed alternative method.” Frazier, 2025 WL 361172, at

*13–14.




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       At bottom, therefore, Louisiana had legitimate penological reasons

not to adopt the firing squad—and that independently dooms Plaintiff’s

Eighth Amendment claim.

III.   THE REMAINING FACTORS FAVOR A STAY AND VACATUR.

       A. Plaintiff’s failure to establish a likelihood of success on the

merits ends the analysis for all practical purposes. But, even if the Court

reaches the remaining factors, they weigh heavily in favor of Defendants.

       First, Plaintiff’s delay in filing this suit places the equities and the

public interest squarely on the State’s side. The Supreme Court has

emphasized that federal courts must apply “a strong equitable

presumption against the grant of a stay where a claim could have been

brought at such a time as to allow consideration of the merits without

requiring entry of a stay.” Nelson v. Campbell, 541 U.S. 637, 650 (2004).

Indeed, “[l]ast-minute stays should be the extreme exception, not the

norm, and ‘the last-minute nature of an application’ that ‘could have been

brought’ earlier, or ‘an applicant’s attempt at manipulation,’ ‘may be

grounds for denial of a stay.’” Bucklew, 587 U.S. at 150 (quoting Hill v.

McDonough, 547 U.S. 573, 584 (2006)). For that reason, federal courts

“‘can and should’ protect settled state judgments from ‘undue


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interference’ by invoking their ‘equitable powers’ to dismiss or curtail

suits that are pursued in a ‘dilatory’ fashion or based on ‘speculative’

theories.” Id. at 151 (quoting Hill, 547 U.S. at 584–85).

     That precisely describes this case. Plaintiff told this Court just

weeks ago that he has had a live controversy for eight months. See Pls’

Opp. to Request for Admin. Stay at 9, In re Westcott, No. 25-30088 (5th

Cir. Feb. 27, 2025) (“Plaintiffs diligently moved to reopen the proceedings

[in July 2024] prior to the change in the law, as soon as a justiciable

controversy re-emerged.”). Yet he refused to file this lawsuit eighth

months ago. Instead, he put all his eggs in a basket of hope that the

district court would reopen his long-dismissed suit and allow him to skip

the hassle of filing a new lawsuit. That strategy is inexplicable—but it is

also an undisputed fact.

     Now, Plaintiff tries to turn his delay on the State by protesting

(App.67–68) that the State should have just allowed his procedurally

wrong invocation of Rule 60(b)(6) to proceed apace. But the rules in this

Court’s precedent say that Plaintiff cannot use Rule 60(b)(6). That is not

the State’s fault. He, the State, and the Court are in this eleventh-hour

time crunch solely because he refused to file this lawsuit eight months


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ago. And to drive this point home, there is nothing in the district court’s

analysis from yesterday’s order that could not have been written several

months ago. Whether the Court deems that delay or manipulation, it is

a fact that tilts the equities in the State’s favor.

      Second, the State (and therefore also the public because the factors

merge) has an unquestionably compelling interest in Plaintiff’s

execution. See Bucklew, 587 U.S. at 150 (“Under our Constitution, the

question of capital punishment belongs to the people and their

representatives ....”); Nelson, 541 U.S. at 644 (“[A] State retains a

significant interest in meting out a sentence of death in a timely

fashion.”); In re Blodgett, 502 U.S. 236, 239 (1992) (The State’s “sovereign

power to enforce [its] criminal law” carries “great weight.”); Calderon v.

Thompson, 523 U.S. 538, 556 (1998) (“To unsettle these expectations [of

finality] is to inflict a profound injury to the ‘powerful and legitimate

interest in punishing the guilty,’ an interest shared by the State and the

victims of crime alike.” (quotation omitted)); Moran v. Burbine, 475 U.S.

412, 426 (1986) (recognizing “society’s compelling interest in finding,

convicting, and punishing those who violate the law”); Turner, 460 F.




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App’x at 331 (emphasizing that courts must “give appropriate weight to

... the State’s interests in carrying out [an] execution as scheduled ....”).

      And third, Plaintiff has no viable assertion of irreparable harm on

the other side of the ledger. His only theory of irreparable harm is that

he “will be executed in violation of his constitutional rights.” App.97. But

that theory falls apart since he has no likelihood of success on the merits.

Moreover, to the extent he suggests his showing of irreparable harm

would alone be “dispositive,” he is wrong. App.97 (citing D.T. v. Sumner

Cnty. Sch., 942 F.3d 324, 327 (6th Cir. 2019)). What the Sixth Circuit

actually held in D.T. was that the absence of irreparable harm was

dispositive. See 942 F.3d at 327 (“Was the district court wrong to stop the

inquiry after finding no irreparable injury? No. When one factor is

dispositive, a district court need not consider the others.”).

      In addition, this Court has rejected limiting the preliminary-

injunction inquiry to irreparable harm. See White v. Carlucci, 862 F.2d

1209, 1211 n.1 (5th Cir. 1989) (“Plaintiff would have us ... order the

injunction to issue if we find that irreparable injury was either

established or need not be. Such a result would be inappropriate.”);

accord § 73:96, 14A Cyc. of Federal Proc. § 73:96 (3d ed.) (“[E]nforcement


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of a constitutional state statute will not be enjoined by a federal court

merely because it will cause irreparable injury.” (citing Ala. Pub. Serv.

Comm’n v. S. Ry. Co., 341 U.S. 341 (1951); Lawson v. Aetna Ins. Co., 41

F.2d 316 (4th Cir. 1930))). And for good reason: Plaintiff’s theory would

entitle every prisoner with a death warrant to a preliminary injunction

based on nothing more than the warrant’s existence. That is not the law.

     B. For its part, the district court oddly suggested that the nitrogen

protocol’s confidential nature and the public’s “interest in knowing how

its government operates” somehow warrant an injunction. App.946. As

the district court is aware, this Court previously reversed that court (in

Plaintiff’s original lawsuit, no less) for holding that a related plaintiff

“was likely to prevail on his claim that the Due Process Clause of the

Fourteenth Amendment entitles him to prompt and detailed disclosure

of Louisiana’s most recent execution protocol.” Sepulvado v. Jindal, 729

F.3d 413, 418 (5th Cir. 2013). Absent a discovery order, therefore, the

State has no freestanding obligation to disclose the protocol under federal

or State law. Moreover, it bears noting that the district court’s analysis

from yesterday has nothing to do with the nitrogen protocol. So all this is

beside the point.


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     The district court also found it “in the best interests of the public to

examine this newly proposed method of execution on a fully developed

record.” App.946. But the court has no authority to grant interim relief

that does not satisfy the demanding preliminary-injunction standard.

Indeed, it is difficult to understand the district court’s final notes

(App.946) as anything more than a mere attempt to delay Plaintiff’s

execution. There is no legal basis for such delay.

                             CONCLUSION
     The Court should immediately stay, and vacate, the March 11

Order enjoining Plaintiff’s March 18 execution.




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                                          Respectfully submitted,

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                        CERTIFICATE OF SERVICE
      I certify that on March 12, 2025, I filed the foregoing brief with the

Court’s CM/ECF system, which will automatically send an electronic

notice of filing to all counsel of record.



                                                    /s/ J. Benjamin Aguiñaga
                                                    J. BENJAMIN AGUIÑAGA




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                 CERTIFICATE OF COMPLIANCE
     Pursuant to Fifth Circuit Rule 32.3, the undersigned certifies that

this motion complies with:

     (1) the type-volume limitations of Federal Rule of Appellate

Procedure 27(d)(2) because it contains 8,247 words, which is within the

enlarged limit sought by this motion; and

     (2) the typeface requirements of Rule 32(a)(5) and the type-style

requirements of Rule 32(a)(6) because it has been prepared in a

proportionally spaced typeface (14-point Century Schoolbook) using

Microsoft Word 2016 (the same program used to calculate the word

count).

                                                  /s/ J. Benjamin Aguiñaga
                                                  J. BENJAMIN AGUIÑAGA


Dated:    March 12, 2025




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